         Case 3:24-bk-00496-BAJ        Doc 65-1      Filed 04/16/24     Page 1 of 1




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION
                               www.flmb.uscourts.gov
In re:

Genie Investments NV Inc.,                           Case No. 3:24-bk-00496-BAJ
                                                     Chapter 11
      Debtor.
__________________________________/

                    APPOINTMENT OF CHAPTER 11 EXAMINER

         Pursuant to this Court’s Order Directing the Appointment of a Chapter 11 Examiner

(Doc. No. 60), the United States Trustee for Region 21 appoints the following person as the

Examiner:

                           Maria M. Yip, CPA, CFE, CIRA, CFF
                                      Yip Associates
                              2 S. Biscayne Blvd, Suite 2690
                                   Miami, Florida 33131
                                   Office: 305-569-0550
                                   Fax: 1-888-632-2672
                                Email: myip@yipcpa.com

This appointment is made on April 16, 2024.

                                              Respectfully submitted,

                                              Mary Ida Townson,
                                              United States Trustee for Region 21

                                               /s/ Scott Bomkamp
                                              Scott Bomkamp, Trial Attorney
                                              Office of the United States Trustee
                                              U.S. Department of Justice
                                              400 W. Washington St., Suite 1100
                                              Orlando, FL 32801
                                              Telephone No.: (407) 648-6301
                                              Facsimile No.: (407) 648-6323
                                              Email: scott.e.bomkamp@usdoj.gov
                                              Indiana Bar No.: 28475-49
